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                                UNITED STATES DISTRICT COURT
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RUBY J. KRAJICK
CLERK OF COURT




                                         January 20, 2022


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Re: 1:16-cv-03711-ER, In re SSA Bonds Antitrust Litigation

Dear Counsel,

I have been contacted by Judge Edgardo Ramos who presided over the above-mentioned case.

Judge Ramos informed me that it has been brought to his attention that well after the case was
filed but while he still presided over the case, he owned stock in Citigroup, the parent company
of Citigroup Global Markets and Citibank, N.A. and Credit Suisse. His ownership of stock
neither affected nor impacted his decisions in this case. However, his stock ownership would
have required recusal under the Code of Conduct for United States Judges, and thus, Judge
Ramos directed that I notify the parties of the potential conflict.

Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee, provides the
following guidance for addressing disqualification that is not discovered until after a judge has
participated in a case:

[A] judge should disclose to the parties the facts bearing on disqualification as soon as those
facts are learned, even though that may occur after entry of the decision. The parties may then
determine what relief they may seek and a court (without the disqualified judge) will decide the
legal consequence, if any, arising from the participation of the disqualified judge in the entered
decision.

Although Advisory Opinion 71 contemplated disqualification after a Court of Appeals oral
argument, the Committee explained “[s]imilar considerations would apply when a judgment was
entered in a district court by a judge and it is later learned that the judge was disqualified.”

If you wish to respond to the disclosure of a potential conflict in this matter, please file your
response in the above-named case. Any response will be considered by another judge of this
court without the participation of Judge Ramos.

                                               Sincerely,




                                               Ruby J. Krajick
                                               Clerk of Court

cc: Hon. Edgardo Ramos, U.S.D.J.
